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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


STEPHEN BURRELL,

       Petitioner,

v.                                                      CASE NO: 8:11-CV-365-T-30TGW
                                                        Crim. Case No: 8:09-CR-440-T-30TGW
UNITED STATES OF AMERICA,

      Respondent.
____________________________________/


                                        ORDER

       THIS CAUSE comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence Pursuant to 28 U.S.C. §2255 (CV Dkt. #1) and Memorandum in support

(CV Dkt. #2) filed on February 22, 2011. The Government’s response was filed on May 10,

2011 (CV Dkt. #4).

                                       Background

       On September 22, 2009, Petitioner, Stephen Burrell (“Burrell” or “Petitioner”) was

indicted by a Grand Jury with one count of conspiracy to possess with intent to distribute 5

kilograms or more of cocaine in violation of 21 U.S.C. §§ 846 and 841(b) (1) (A) (ii), and

one count of carrying one or more firearms in furtherance of a drug trafficking crime in

violation of 18 U.S.C. §§ 924(c) and 2. Represented by court-appointed counsel (CR Dkt.

#16), Petitioner pled guilty as charged on March 23, 2010, pursuant to a negotiated plea

agreement (CR Dkt. #81).
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       Petitioner’s sentencing guideline calculation was an offense level 31 with a criminal

history category of IV resulting in a sentencing range of 151-188 months imprisonment. It

was reduced four levels in recognition of Petitioners substantial assistance pursuant to

U.S.S.G. § 5K1.1 resulting in a guideline range of 100-125 months. Petitioner was sentenced

on June 24, 2010, to serve a term of 100 months in prison, followed by a 60 month

supervised release (CR Dkt. #144).

       Petitioner did not appeal (CR Dkt. #145). Thus, on July 8, 2010 Petitioners conviction

became final, giving him until July 8, 2011 to file a § 2255 motion. On February 22, 2011

Petitioner timely filed this § 2255 motion. But for reasons discussed below, the Court

concludes that Petitioner’s claims are barred by the appeal waiver contained in his plea

agreement.

                                   Standard of Review

       Title 28 U.S.C. § 2255 sets forth the framework for reviewing a federal prisoner’s

sentence for any of the following four reasons: (1) the sentence was imposed in violation of

the Constitution of the United States; (2) the court was without jurisdiction to impose such

a sentence; (3) the sentence was in excess of the maximum authorized by law; or (4) the

sentence is otherwise subject to collateral attack. 28 U.S.C. § 2255. Only constitutional

claims, jurisdictional claims, and claims of error so fundamental as to have resulted in a

complete miscarriage of justice are cognizable on collateral attack. See United States v.

Addonizio, 442 U.S. 178, 184-86 (1979); Hill v. United States, 368 U.S. 424, 428 (1962);

Richards v. United States, 837 F.2d 965, 966 (11th Cir. 1988).

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       Here, Petitioner challenges his conviction as unconstitutional based on receiving

ineffective assistance of counsel. Ineffective assistance claims are cognizable under 28

U.S.C. § 2255. See Lynn v. United States, 365 F.3d 1225, 1234 n.17 (11th Cir. 2004).

       It is well-settled that sentence-appeal waivers are valid if made knowingly and

voluntarily. United States v. Bushert, 997 F.2d 1343, 1350-51 (11th Cir. 1993). Guilty pleas

waive all but jurisdictional claims up to the time of the plea, Tollett v. Henderson, 411 U.S.

258, 266-67 (1973); see also, Stano v. Dugger, 821 F.2d 1125, 1150 (11th Cir.), cert. denied,

502 U.S. 835 (1991), and foreclose most claims from collateral attack, see United States v.

Broce, 488 U.S. 563, 569 (1989). If a valid sentence-appeal waiver is entered into voluntarily

and knowingly, pursuant to a plea agreement, the defendant is precluded from attempting to

attack, in a collateral proceeding, the sentence through a claim of ineffective assistance of

counsel during sentencing; the Eleventh Circuit opined that to hold otherwise would “permit

a defendant to circumvent the terms of the sentence-appeal waiver simply by recasting a

challenge to his sentence as a claim of ineffective assistance, thus rendering the waiver

meaningless.” Williams v. United States, 396 F.3d 1340, 1342 (11th Cir. 2005).

                                         Discussion

        The crux of Petitioner’s complaint is that the sentence he received was procedurally

and substantively unreasonable because of ineffective assistance of counsel pursuant to two

grounds:

Ground One:          Counsel was ineffective for failing to introduce mitigating evidence
                     regarding Petitioner’s mental health for a downward departure pursuant
                     to U.S.S.G. § 3553(a).

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Ground Two:          Counsel was ineffective for failing to introduce factors that Petitioner
                     possesses enough of a lack of mental stability, so as to be held fully
                     accountable for his actions, thus resulting in a further downward
                     departure pursuant to U.S.S.G. § 5K2.13.

       Petitioner executed a plea agreement in which he waived his right to appeal, directly

or collaterally, any factual or legal finding made by the court in calculating the appropriate

sentencing guideline range, unless the court upwardly departed or the Government appealed.

See Williams, 396 F.3d at 1342.

       Petitioner concedes, “this Honorable Court imposed a low end sentence of 100 months

incarceration along with five years supervised release.,” (CV Dkt. #2 at 5). No upward

departure from the sentencing guidelines occurred. Without an appeal from the Government,

Petitioner’s waiver of his right to challenge his sentence is controlling. See United States v.

Weaver, 275 F.3d 1320, 1333 (11th Cir. 2001).

       To establish the waiver's validity, the government must show either that (1) the district

court specifically questioned the defendant about the provision during the plea colloquy, or

(2) it is manifestly clear from the record that the defendant fully understood the significance

of the waiver. United States v. Weaver, 275 F.3d 1320, 1333 (11th Cir. 2001).

       At Petitioner’s change of plea hearing, the Magistrate reviewed his appeal waiver,

pointing out that by agreeing to the waiver, he was specifically waiving his right to challenge

the Court’s sentencing guideline calculation on direct appeal as well as in later proceedings

(CR Dkt. #183 at 30-31). The Magistrate explained that the waiver also included claims of

ineffective assistance of counsel regarding the guidelines (CR Dkt. #183 at 30-31). When


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asked if he understood this, Petitioner responded that he did (CR Dkt. #183 at 31:8). At the

conclusion of the proceeding, the Magistrate found that Petitioner’s guilty plea was made

“freely, voluntarily, and knowingly,” (CR Dkt. #105).

       Even if Petitioner’s right to attack his sentence had not been waived, it would have

still failed to establish a prime facie claim of ineffective assistance of counsel. Petitioner

must show that counsel’s performance was deficient and that the deficient performance

prejudiced the defense. Strickland v. Washington, 466 U.S. 668, 687 (1984). Deficient

performance is performance which is objectively unreasonable under the prevailing

professional norms. Strickland v. Washington, 466 U.S. 668, 694 (1984). Prejudice results

when there is “a reasonable probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.” Strickland v. Washington, 466 U.S. 668,

694 (1984). Any vague, conclusory, speculative, or unsupported claims are insufficient to

support claims of ineffective assistance of counsel. Tejada v. Dugger, 941 F.2d 1551, 1559

(11th Cir. 1991), cert. denied, 502 U.S. 1105 (1992).

Ground One:

       Petitioner asserts that “Defense counsel rendered constitutional ineffective assistance

when counsel failed to present mitigating evidence concerning Petitioner’s mental health

pursuant to § 3553(a) (CR Dkt. #2 at 5). Petitioner further discusses his mental condition

including posttraumatic stress disorder and a diagnosis of mental disability resulting from a

gunshot wound to his head (CR Dkt. #2 at 6).



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       Burrell is factually mistaken about his counsel’s performance. Burrell’s counsel, Ms.

Borghetti, argued diminished capacity in her Sentencing Memorandum, (CR Dkt. #136 at 6-

7). Moreover, the sentencing transcript clearly indicates that Ms. Borghetti, orally presented

mitigating evidence concerning Petitioner’s mental health. The court acknowledged

diminished capacity could be a mitigating factor:

       MS. BORGHETTI: he’s got a diminished capacity. Being - - he was shot in
       the head... So, Judge, he - - because of this shooting, he - - you know, he had
       to learn how to talk, walk, eat... So, I believe he has diminished capacity, Your
       Honor... under the analysis of 3553(a) (CR Dkt. #181 at 6-7).

       THE COURT: All right. Diminished capacity would be a factor to consider in
       varying from the guidelines (CR Dkt. #181 at 7).

       MS. BORGHETTI: Right (CR Dkt. #181 at 7).

       In addition to the arguments made by defense counsel, a character witness was

brought forth to testify about Petitioner’s mental health:

       THE WITNESS: I’ve been a lifelong friend of Mr. Burrell for over 20 years,
       and I can say that... after he got shot in the head, he hasn’t been the same... His
       judgment is messed up (CR Dkt. #181 at 16).

       Petitioner further claims that “the District Court’s failure to consider the § 3553(a)

factors...constitutes procedural error,” (CR Dkt. #2 at 5). This is directly refuted by the

sentencing transcript:

       THE COURT: The Court having reviewed the presentencing report and
       considered the factors of 18 U.S.C., Section 3553, it is the judgment of the
       Court that the defendant, Stephen Burrell, is hereby committed to the custody
       of the Bureau of Prisons (CR Dkt. #181 at 20).




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       The judge’s explanation regarding the sentence given need only be brief to be legally

sufficient. Rita v. United States, 551 U.S. 338, 358 (2007). Thus, it is clear from the record

that counsel’s performance was not deficient, and as a result there was no prejudice in

sentencing. Ground One of Petitioner’s motion lacks merit.

Ground Two:

       Similar to Ground One, Ground Two alleges that “counsel provided constitutional

ineffectiveness for failing to present § 5K2.13 factors during the sentencing proceeding (CR

Dkt. #2 at 5). This allegation also lacks merit. The sentencing record clearly indicates that

Petitioner’s counsel addressed the § 5K2.13 factors:

       MS. BORGHETTI: We feel that there should be consideration given for a
       departure under 5K2.13 of the advisory guidelines (CR Dkt. #181 at 5).

       Again Burrell is factually mistaken about the performance of his lawyer. This claim

is without merit.

                                         Conclusion

       Petitioner’s claims are barred by his appeal waiver. And his claims would have failed

for lack of merit even if they had not been waived. His claims are factually wrong about the

performance of his counsel. As such, Petitioner’s application for 28 U.S.C. § 2255 relief must

be dismissed.

       It is therefore ORDERED AND ADJUDGED that:

       1.       Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

                U.S.C. §2255 (CV Dkt. #1) is DISMISSED because it is barred by Petitioner’s


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               appeal waiver.

       2.      The Clerk shall close this case.

       3.      The Clerk is directed to terminate from pending status the motion to vacate

               found at Dkt.#175, in the underlying criminal case, case number 8:09-CR-440-

               T-30TGW.

CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL IN FORMA
PAUPERIS DENIED

       IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

must first issue a certificate of appealability (COA). Id. "A [COA] may issue...only if the

applicant has made a substantial showing of the denial of a constitutional right." Id. at §

2253(c)(2). To make such a showing, Petitioner "must demonstrate that reasonable jurists

would find the district court's assessment of the constitutional claims debatable or wrong,"

Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

(2000)), or that "the issues presented were 'adequate to deserve encouragement to proceed

further.'" Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463

U.S. 880, 893 n. 4 (1983)). Petitioner has not made the requisite showing in these

circumstances.




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           Finally, because Petitioner is not entitled to a COA, he is not entitled to appeal in

forma pauperis.

           DONE and ORDERED in Tampa, Florida on June 30, 2011.




Copies furnished to:
Counsel/Parties of Record
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